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                                                                                 FILED IN CHAMBERS
                                                                                    U.S.D.C. Atlanta

                                 THEUNITEDSTATESDISTRICTCOURT JUN 5 2014
                               FOR THE NORTHERN DISTRICT OF GEO~ I· /"I> rr
                                         ATLANTA DIVISION     By: '<. A




             UNITED STATES OF AMERICA,
                                                           CRIMINAL ACTION
             v.                                            NO. 1:13-CR-385-JEC
             JOSE EDGARDO
             ARRIOZA-MELENDEZ

                          Defendant.
                  REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY}

                    The Defendant, Jose Edgardo Arrioza-Melendez ("Defendant"), by consent, has

             appeared before the undersigned United States Magistrate Judge and has entered a plea

             of guilty to the Indictment. After cautioning and examining the Defendant under oath

             concerning each ofthe subjects mentioned in Rule 11, I have determined that the guilty

             plea was knowing and voluntary, and that the plea to the offense charged is supported

             by an independent basis in fact establishing each ofthe essential elements ofthe offense.

                    It is, therefore, RECOMMENDED that the plea of guilty be accepted and that

             the Defendant be adjudged guilty and have sentence imposed accordingly.

                    IT IS SO RECOMMENDED this 4




                    1Failure to file written objections to this Report and Recommendation within
             FOURTEEN (14) DAYS after service of a copy: of this Report and Recommendation
             shallbar an aggrieved party from attacking such Report and Recommendation before
             the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).



A072A
(Rev.8/82)
